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7

8                        UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA
9

10   United States of America,
                                                   2:22-cr-00022-GMN-NJK
11                  Plaintiff,
                                                   Stipulation to Continue Sentencing
12                  v.

13   Scott F. Carpenter,

14                  Defendant.

15

16
            IT IS HEREBY STIPULATED AND AGREED by and between, Jason M.
17
     Frierson, United States Attorney, District of Nevada, Daniel R. Schiess, Assistant United
18
     States Attorney representing the United States of America, and Paul J. Fishman, Esq., and
19
     Daniel G. Bogden, Esq. representing Defendant Scott F. Carpenter, that the Sentencing
20   Hearing currently scheduled for June 14, 2022, in the above captioned matter, be vacated
21   and continued to July 25, 2022 in Courtroom 7D of the United States District Court for the

22   District of Nevada.

23          Defendant is unable to appear in person in Las Vegas on the currently scheduled date

24
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1    because Defendant’s close family member must undergo an unanticipated medical

2    procedure on June 13, 2022. Defendant must act as caregiver while his family member

3    recovers.

4
     DATED this 8th day of June 2022.
5

6     Jason M. Frierson
      United States Attorney
7
      /s/ Daniel R. Schiess                       /s/ Paul J. Fishman
8     DANIEL R. SCHIESS                           PAUL J. FISHMAN
      Assistant United States Attorney            Arnold & Porter Kay Scholer LLP
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11                                                Counsel for Defendant

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           Case 2:22-cr-00022-GMN-NJK Document 21 Filed 06/08/22 Page 3 of 3




1                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
2

3    United States of America,
                                                    2:22-cr-00022-GMN-NJK
4                   Plaintiff,
                                                    ORDER
5                   v.

6    Scott F. Carpenter,

7                   Defendant.

8

9

10                                     FINDINGS OF FACT

11          Based on the pending Stipulation between the defense and the government, and good

12   cause appearing therefore, the Court hereby finds that:

13          Defendant is unable to appear in person in Las Vegas on the currently scheduled date

14   because defendant’s close family member must undergo an unanticipated medical procedure

15   on June 13, 2022, and defendant must act as caregiver for his family member.

16                                                 ORDER
17           Accordingly, IT IS SO ORDERED that the current Sentencing Hearing is vacated
18   and is reset for July 25, 2022 in Courtroom 7D of the United States District Court for the
19   District of Nevada.
20          DATED this ____ day of June, 2022.
21

22                                              ____________________________________
                                                HONORABLE GLORIA M. NAVARRO
23                                              United States District Court Judge
24
                                               3
